   

Caset:O8-cv-01807-V|\/| Document9 Filed 03/31/2_.

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

FEDERAL FNSURANCE COMPANY V.

CERTIFICATE OF MAILING
Plaintiff,

_V_

M/V HYUNDAI GAR_NET, et al.
Defendants.

08 CV 1807(\/1\/[)

 

l, J. Michael McMahon, Clerk of Court for the Southern District of New York, do hereby certify that on the

31ST day of March, 2008

l served the

SUMMONS & VER_IFIED COMPLAINT WITH PRAY FOR MARlTll\/[E ATTACHMENT

pursuant to the Federal Rule of Civil Procedure 4 (f) (2) (C) (ii) liled and issued herein on the,

ZZND day of February, 2008

by mailing via registered mail, return receipt requested, at the United States Post Office, Chinatown Station, New
Yorl<, NY, a copy of each thereot", Securely enclosed in a post-paid Wrapper addressed to:

See attached for listing of Defendants

That annexed to the original hereof is registered mail receipt(S)

RB 632 943 585 US

`CLEiU<
Dated: NeW Yorl<, NY

Case 1:08-cv-01807-V|\/| Document 9 Filed 03/31/2008 Page 2 of 2

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§@@aaata

91 W. CHERRY STREET
Hscl<svn_l_E, NEW YoRK 11801

(516} 931-0064
TELEFA)< (516) 931-4313

HARoLD N|. K:NGsLEY
JoAN S. KaNGsLEY
STEVEN P. CALK¢NS

KE\HN T. |V|URTAGH

Match 26, 2008

Clerl< of the Court
United States District Court
Southern District of New Yorl<

500 Pearl Street
New Yorl<, New Yorl< 10007
Re: FEDERAL INSURANCE COMPANY V.
M/V HYUNDAI GARNET, et al.
08 CV 1807 (VM)
Our Ref: Cl-I 7977
Sir:

Please serve the enclosed Summons and Complaint on the following defendants
by registered mail pursuant to Federal Rules of Civil Procedure Rule 41 (f)(Z)©) (ii):

     

 

 

 

 

 

 

 

 

 

 

 

 

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